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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  WESTERN DIVISION



                                                    Chapter 7
  ANDREAS CRAIG,
                                                    Case No. 18-30029-EDK
                         Debtor




                                   CORRECTIVE ORDER ON

                TRUSTEE'S MOTION FOR ORDER APPROVING PRIVATE
                       SALE OF PROPERTY OF THE ESTATE

                (99-101 HOOD STREET, SPRINGFIELD, MASSACHUSETTS)


       This matter having come before the Court upon the motion and notice of Trustee's intent to

sell property of the estate, free and clear of liens and encumbrances ("Motion"), specifically to sell

the estate's right, title and interest in real estate located at 99-101 Hood Street, Springfield,

Massachusetts, in a deed recorded in the Hampden County Registry of Deeds at Book 20410, Page

84 (the "Property"), free and clear of all liens, claims, mortgages, security interests, charges,

encumbrances, and other interests, to Le and Associates, LLC (the "Purchaser") or its nominee; and

the Court finding that notice has been properly given to parties in interest; and no objections or

higher bids having been timely made; and the Court finding that the sale, on the terms described in

the Motion is appropriate; and the Court finding that the purchasers are good faith purchasers, as

that term is used in §363(m) of the Bankruptcy Code, and entitled to the protections provided such

sections:

       The Court finds that the Motion constitutes a core proceeding, pursuant to 28 U.S.C.

§157(b)(2)(M), and that it has jurisdiction over this matter pursuant to 28 U.S.C. §1334. The Court

further finds that the sale is authorized under 11 U.S.C. §363(b) and (f)(2).

       IT IS ORDERED that the Trustee's Motion shall be and hereby is allowed, and the Trustee is
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hereby authorized to sell the estate's interest in the Property to the Purchaser, or its nominee, for the

sum of $115,500, plus the buyer's premium of $7,500.00. The Property is being sold without

recourse, and "as is, where is".

       IT IS FURTHER ORDERED that such sale shall be free and clear of all liens and

encumbrances, including but not limited to the mortgage currently held or serviced by Oceanside

Mortgage Company recorded in the Hampden County Registry of Deeds at Book 21014, Page 56,

with valid liens to attach to the proceeds in their order of priority. If the Purchaser does not

complete the sale, the deposit of $1,000.00 may be forfeited.

       IT IS FURTHER ORDERED that the Trustee is authorized to make the following

distributions from the proceeds of the sale: real estate taxes and municipal charges, ordinary closing

costs, insurance premiums incurred by the Trustee up to $650.00, the broker's commission of

$6,930.00, to be paid to RE/MAX Ignite and to BK Global Real Estate Services, LLC, and the

buyer's premium of $7,500.00 to be retained by the Trustee, from which the Trustee's administrative

expenses will be paid. The remaining proceeds will be paid to Oceanside Mortgage Company or its

nominee in full satisfaction of its secured claim. The proceeds held by the Trustee will be held

subject to any other existing liens and encumbrances, if any, to the extent of their amount,

perfection and priority, pending further order of the Court; provided, however, that to the extent it is

determined that any party has a perfected lien upon the Property, the fees and expenses incurred by

the Trustee in connection with the sale of the Property, constitute reasonable and necessary

expenses of preserving and disposing of the Property, and may be recovered from the proceeds of

the sale, pursuant to 11 U.S.C. §506(c).

       Dated this       day of October, 2018.


                                               __________________________________
                                               ELIZABETH D. KATZ
                                               Bankruptcy Judge
